          Case
          Case 2:17-cv-01883-JAD-BNW
               2:17-cv-01883-JAD-PAL Document
                                     Document 127
                                              128 Filed
                                                  Filed 04/02/19
                                                        05/01/19 Page
                                                                 Page 11 of
                                                                         of 44



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11   Attorneys for Plaintiff
     Keith Brown
12

13                         UNITED STATES DISTRICT COURT
14                              DISTRICT OF NEVADA
15
     KEITH BROWN, an individual,             Case No. 2:17-cv-01883-JAD-PAL
16
                  Plaintiff,
17
                                             NOTICE OF SETTLEMENT
           v.
18
     ARTEC GLOBAL MEDIA, INC., a
19   Nevada corporation; BART AND
20
     ASSOCIATES, LLC, a Colorado
     limited liability company; STONE
21
     DOUGLASS, an individual; NOVA
     CAPITAL ADVISORS, LLC, a
22   California limited liability company;
     PETERSON SULLIVAN LLP, a
23   Washington limited liability
     partnership; WALTER WELSH, an
24   individual; CALEB WICKMAN, an
     individual; and MASON
25   YAMASHIRO, an individual,
26                Defendants.
27

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          Case
          Case 2:17-cv-01883-JAD-BNW
               2:17-cv-01883-JAD-PAL Document
                                     Document 127
                                              128 Filed
                                                  Filed 04/02/19
                                                        05/01/19 Page
                                                                 Page 22 of
                                                                         of 44



 1   TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:
 2
           PLEASE TAKE NOTCE that Plaintiff KEITH BROWN (“Brown”) and
 3

 4   Defendants ARTEC GLOBAL MEDIA, INC. (“Artec,”), CALEB WICKMAN
 5
     (“Wickman”), and STONE DOUGLASS (“Douglass”; collectively, the “Artec
 6

 7
     Defendants”) have entered into a settlement agreement (the “Settlement

 8   Agreement”) that obviates the need for a trial in the above-captioned matter.
 9

10         Pursuant to the terms of the Settlement Agreement, the Artec Defendants
11
     will pay Brown monthly installments of settlement funds, the last of which is due
12
     on or about February 1, 2020. The Settlement Agreement also allows Brown to
13

14   enter a Confession of Judgment in this Court if the Artec Defendants materially
15
     breach the Settlement Agreement.
16

17         Brown and the Artec Defendants respectfully request that this Court (1)
18
     vacate all further dates in connection with the above-captioned matter; and (2)
19

20   retain jurisdiction of this matter until February 14, 2020, at which time Brown will
21
     dismiss all claims and causes of action against the Artec Defendants.
22

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         Case
         Case 2:17-cv-01883-JAD-BNW
              2:17-cv-01883-JAD-PAL Document
                                    Document 127
                                             128 Filed
                                                 Filed 04/02/19
                                                       05/01/19 Page
                                                                Page 33 of
                                                                        of 44



 1   DATED: April 2, 2019                          HOLLEY, DRIGGS, WALCH,
 2                                                 PUZEY & THOMPSON
 3
                                                   s/ Brian W. Boschee
 4                                                 BRIAN W. BOSCHEE, ESQ.
                                                   Attorneys for Keith Brown
 5
                                                   (NV Bar Number 7612)
 6

 7

 8   DATED: April 2, 2019                          GUSTAFSON pc
 9
                                                   s/ J. Ryan Gustafson
10
                                                   J. RYAN GUSTAFSON, ESQ.
11                                                 Attorneys for Keith Brown
                                                   (CA Bar Number 220802)
12
                                                   (Admitted pro hac vice)
13

14

15   DATED: April 2, 2019                          THE MARKOWITZ LAW FIRM
16
                                                   s/ Warren R. Markowitz
17
                                                   WARREN R. MARKOWITZ, ESQ.
18                                                  Attorneys for the Artec Defendants
19

20
       IT IS ORDERED that the relief requested in the parties' notice of settlement is
21   DENIED.
22
        Dated: April 30, 2019
23
                                                   ____________________________
24                                                 Peggy A. Leen
                                                   United States Magistrate Judge
25

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          Case
          Case 2:17-cv-01883-JAD-BNW
               2:17-cv-01883-JAD-PAL Document
                                     Document 127
                                              128 Filed
                                                  Filed 04/02/19
                                                        05/01/19 Page
                                                                 Page 44 of
                                                                         of 44



 1

 2                              CERTIFICATE OF SERVICE
 3
           I hereby certify that on April 2, 2019, 2019, service of the foregoing
 4
     NOTICE OF SETTLEMENT upon each of the parties via electronic service
 5
     through electronic the United States District Court for the District of Nevada’s
 6
     ECF system to:
 7

 8   Warren Markowitz, Esq.
     The Markowitz Law Firm
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     warren@warrenmarkowitzesq.com
     warren@markowitzlawfirm.com
12

13   Attorneys for Defendants
14   The Artec Defendants
15

16

17

18                                                       /s/J. Ryan Gustafson
19                                                       J. RYAN GUSTAFSON
20

21

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